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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                     )
ATTORNEY GENERAL MERRICK                             )
GARLAND, in his official capacity, UNITED            )
STATES DEPARTMENT OF JUSTICE, FBI                    )
DIRECTOR CHRISTOPHER A. WRAY, in his                 )
official capacity, FEDERAL BUREAU OF                 )
INVESTIGATION,                                       )
                                                     )
                              Movants,               )
                                                     )
v.                                                   )       Case No. 1:22-mc-00027-ABJ
                                                     )
PETER P. STRZOK                                      )
                                                     )       Related: Strzok v. Garland, et al.,
IN RE SUBPOENA SERVED ON                             )       1:19-CV-2367-ABJ (D.D.C);
DONALD J. TRUMP                                      )       Page v. DOJ, et al.,
                                                     )       1:19-cv-03675-TSC (D.D.C)
                                                     )

NOTICE OF PETER P. STRZOK’S INTENT TO FILE SUPPLEMENTAL DISCOVERY
 IN SUPPORT OF HIS OPPOSITION TO MOVANTS’ / DEFENDANTS’ MOTION TO
                  QUASH OR FOR PROTECTIVE ORDER

       Plaintiff Peter P. Strzok submits this Notice of his intent to file – by next Wednesday,

June 15, 2022 – supplemental discovery relevant to the Defendants’ Pending Motion to Quash

Subpoena or for a Protective Order. Plaintiff is awaiting transcription services.

       Among other facts, the discovery concerns the government’s invocations of the

presidential communications privilege. The Department of Justice first invoked this privilege in

this action as “DP ‐ Deliberative Process; PCP” in 1 of 829 privilege log entries served on March

31, 2022 in reference to a document described as:

               Outline prepared by Associate Deputy Attorney General Scott
               Schools in advance of briefing the President regarding contents of
               the Inspector General’s June 14, 2018 report titled ‘Review of
               Various Actions by the Federal Bureau of Investigation and
               Department of Justice in Advance of the 2016 Election.’ Document
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               reflects non‐final deliberations regarding the contents of the final
               briefing.

Additional information is subject to Defendants’ confidentiality designations per the operative

protective order in Strzok v. Garland, ECF No. 58, and Plaintiff expects to move for leave to file

under seal.

       Plaintiff does not believe the Court should rule on the pending motion to quash without

the information he intends to file, and Plaintiff is unable to obtain relevant documents until next

week due to vendor limitations.




Dated: June 10, 2022                         Respectfully submitted,


                                             /s/ Aitan D. Goelman
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                                             Counsel for Plaintiff Peter Strzok




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